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                 Exhibit A
          [to be filed under seal]
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     a.          was not aware of many social meetings between Menendez and foreign
          government officials. Menendez would occasionally have evening/dinner
          meetings for which the Senate Foreign Relations Committee (“SFRC”) staff
          would prepare memos (such as when Menendez had dinner with certain Greek
          people). If Menendez had dinner/evening meetings with foreign government
          officials,      did not attend them.
     b. With regard to Menendez’s constituents and SFRC business,             would
        “bear in mind” those things that were relevant to Menendez as Chairman or
        Ranking Member           had staff meet with New Jersey constituents to help
        understand their issues.
     c. The SFRC’s work involved handling a lot of classified information. SFRC
        work also involved non-public information, such as the negotiations related to
        a piece of legislation. There was no absolute prohibition on members sharing
        non-public SFRC information with third parties.
     d. With regard to Foreign Military Sales (“FMS”), there was a period of SFRC
        review prior to Congressional notification. The fact that a sale was pending
        was not public information.             did not recall Menendez ever directing
               to convey messages about FMS, prior to Congressional notification, to
                third parties (apart from registered agents of a foreign government and
        possibly with respect to the Greeks).          could recall occasions when they
        spoke to a foreign government official about human rights concerns prior to
        Congressional notification. Contracting companies sometimes called to ask
        whether a sale was going to go through. Such communication generally went
        through                there was no prohibition on          being frank with the
        company if the Senator had already made a decision on the sale.
     e.         stated that Menendez held up Egypt money for “forever and a day.”
          SFRC staff could not hold up a billion dollars without Menendez’s approval.
          Egypt received $1.3 billion in Foreign Military Financing (“FMF”) per year;
          Menendez held up that money for a long time.




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       Separately, we note that we have not received any reciprocal discovery to date. We again
renew our request for reciprocal disclosure from the defendant. Please confirm whether the
defendant has, to date, met the defendant’s respective reciprocal disclosure obligations under Rule
16(b). See Fed. R. Crim. P. 16(b)(1); see also, e.g., United States v. Rajaratnam, No. 09 Cr. 1184
(RJH), 2011 WL 723530, at *5 (S.D.N.Y. Feb. 25, 2011). Please also confirm whether the
defendant recognizes that such obligations are continuing ones.

        Finally, we request material obtained pursuant to Rule 17(c) subpoenas. See Fed. R. Crim.
P. 17(c)(1); see also, e.g., United States v. Sellers, 275 F.R.D. 620, 625 (D. Nev. 2011); United
States v. Reyes, 162 F.R.D. 468, 470 (S.D.N.Y. 1995). So that we may seek relief from the Court
if warranted, please advise us as to whether you have received any such material, and if you have
not, whether you agree to produce any such material that you receive in the future.




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       As always, the Government remains available to confer at your convenience regarding
discovery or the case generally.

                                         Very truly yours,

                                         DAMIAN WILLIAMS
                                         United States Attorney

                                  By:    s/ Paul M. Monteleoni
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